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         Exhibit 19
                                              27-CV-16-10860
                                                                                             Filed in Fourth Judicial District Court
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                                                                                                            Hennepin County, MN




STATE OF MINNESOTA                                                                  DISTRICT COURT

COUNTY OF HENNEPIN                                                   FOURTH JUDICIAL DISTRICT

                                                                        Case Type: Civil Other / Misc.

Mark Lanterman and Computer Forensic                                     Civil File No. 27-CV-16-10860
      ,., Inc.,
Services,                                                                            Hon. Nancy Brasel
                                                                                     Hoa.~anc:

                          Plaintiffs,
                          Plailllilfi,

       v.                                                                               ~   A•
                                                                                         AFFIDAVIT OF
       V.
                                                                                      ll:IIJCV.
                                                                                      ERIC V. B BROWN
       ,!llbmuJ, S1!llm.m
Scott Stillman,  Stillman Cyb&:,
                          Cyber llDn:Dolc
                                 Forensic
       1111ion1, LlC, - - D
Investigations,  LLC,  Minnesota     • ~ af
                                  Department of
Human1 Smvicm1,
         Services,

                          Dofonllant,.
                          Defendants.

STATE• OFMINNBSOTA
       OF MINNESOTA               )
                                  )) 81.
                                     ss.
    ·ry Oli
COUNTY  OF KAN81lY
            RAMSEY                )

       BRIC
       ERIC V.
            V. BROWN, br:m1
                      being llnt
                            first doly
                                  duly •sworn    upon a■lb,
                                         ......, v.p,m oath, dcpoK■  and -■:
                                                             deposes m,d states:

        1.
        l.     I om
                 am OIi
                    an A11i111Dt
                        Assistant A-...Y
                                  Attorney <lml•nl
                                           General will,
                                                   with di•
                                                         the MillDllllll& Attorney lleaonl'■
                                                             Minnesota Allm!Oy     General’s Office

      •ntln1 the
representing the Mtnn11alll Department of
                 Minnesota Oq,a,1,nanl of Rams,
                                          Human S..Vlt:.1
                                                Services ("CHS")
                                                          (“DHS”) and
                                                                  and Smt
                                                                      Scott ll!lllman
                                                                            Stillman in the

above entitled action.
      :nlitlcd aatiDll.

       2.      Attached bun,
               Altad,od hereto oa Exhibit 1I i■
                               as llmibit    is aa -true aml
                                                         and c:orract
                                                             correct ""PY
                                                                      copy of the d■pooilioa
                                                                           of Iba deposition 1n
                                                                                             transcript

      k l.aalam■a.
of Mark Lanterman.

       3.       ..,,....,d hereto uas Ellhibit
                Attached hnllll                 is aa INII
                                      Exhibit 2 i■    true aml
                                                           and aarroat copy of
                                                               correct aopy of 11111 deposition 1111
                                                                               the dopo,iooa     transcript

of ScotttS!ll"-'.
         Stillman.

       4.      Attached a1
               Anad!cd     Exhibit l3 i■
                        as Bdnll~     is aa Ina:
                                            true aml correct ""P1
                                                 and aam:ct  copy of Plaintiffs’ All■w,:ra
                                                                  of Plllialiffa' Answers to the

Interrogatories of DHS and Scott Stillman.
                                                                                    27-CV-16-10860
                                                                                                                                                                         Filed in Fourth Judicial District Court
   Case 3:23-cv-22130-MCR-ZCB                                                   Document 155-20                               Filed 03/14/25                        Page 3 of 65/19/2017 11:08:04 AM
                                                                                                                                                                                             Hennepin County, MN




              5.             Attached as Exhibit 4 is a true and correct copy of a page printed from Computer

Forensic Services’ website on May 18, 2017.

              6.             Attached as Exhibit 5 is a true and correct copy of correspondence between

Assistant        Attorney
       ............ ....... _.. ......... _J General
                                             __ .._..,_..,_.. Eric
                                                           ~   ...... _ V.
                                                                        . • Brown
                                                                            __,..,_, ........ and
                                                                                              ...-. ... - Counsel          for
                                                                                                          ____ ..,..,_ ......        Plaintiffs,
                                                                                                                              _, ...... ..__.._ ................ ..,, Cassandra
                                                                                                                                                                      __ ..,.._. _.._ _ _ Merrick,
                                                                                                                                                                                          ... . .




between
      n May 3, 2017 and May 5, 2017.

              7.             Attached as Exhibit 6 is a true and correct copy of
                                                                              of the following unpu1
                                                                                               unpublished

cases:

Strong Const.
       Const. Co., Inc. v.
              Co., Inc. v. Atlantis Developer, 2006 WL 1529361 (Minn. App., June 6, 2006).
                                                                                 6,200

Griffis v.
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Royal Oaks Holding Co.
                   Co. v.
                       v. Ready, No. C4-02-267, 2002 WL 31302015 (Minn. App. Oct.
                                                                             ,    7,

2002)

              FURTHER YOUR AFFIANT SAYETH
                                   SAYETH NOT.



                                                                                                        /s/ Eric V. Brown
                                                                                                        ERIC V BROWN
                                                                                                        ERICVBROWN
Subscribed
       ibed and sworn to before me
this 19th
       th day of
              of May, 2017.

/s/ Rea J. Bastian
Notary Public-Minnesota
My commission
       nmission expires January 31, 2020




                                                                                               2
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                                                                        Filed in Fourth Judicial District Court
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                                                                                       Hennepin County, MN




                      In The Matter Of:
                    Mark Lanterman, et al vs.
                      Scott Stillman, et al




                         Mark Lanterman
                          May2,2017




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                           Suite 122
                   Bloomington, MN 55431




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                                                                                Exhibit 1
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                                                           27-CV-16-10860
                                                                                                                 Filed in Fourth Judicial District Court
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 1   APPEARANCES :
                                                                     1    (Rule 486.1 0 complied with.)
 2
                                                                     2    MARK LANTERMAN,
 3                     ERIC V. BROWN , Assistant Attorney
                                                                     3 a witness in the above matter, after having
 4         General , Bremer Tower , Suite 1100 , 445
                                                                     4 been first duly sworn, testified under oath
 5         Minnesota Street, St . Paul, MN 55101 - 2128,
                                                                     5 as follows:
 6         a p~ared for and on behalf of Scott Stil~n
                                                                     6    EXAMINATION
 7         a nd Minnesota Department of Human Services,              7    BY MR. BROWN:
 8                   e - mail: eric.brown@ag.state.mn.us             8 Q. Good morning, Mr. Lanterman.
 9                                                                   9 A. Good morning.
10                   CASSANDRA B . MERRICK , Attorney at Law,       10 Q. My name is Eric Brown. I'm an assistant
11         MADEL PA , 700 Pence Building , BOO Hennepin             11 attorney general for the state of Minnesota.
12         Avenue , Minneapolis , MN 55403 , appeared for           12 And in this matter I am representing Scott
13         a nd on behalf of Mark Lanterman.                        13 Stillman in his individual capacity and
14                   e-mail: cmerrick@madellaw.com                  14 official capacity as well as the Minnesota
15                                                                  15 Department of Human Services.
16                   BRIAN M. HANSEN, Attorney at Law,              16 A. Okay.
17         Thompson Coe , 408 St . Peter Street, Suite 510,         17 Q. Could you please state your name for the
18         St . Paul. , MN 55102 , appeared for and on behalf       18 record?
19         of Stillman Cyber Forensic Investigations,               19 A. Sure, my name is Mark Lanterman,
20         LLC.                                                     20 L-A-N-T-E-R-M-A-N.
21                   e-mail:   bhansen@thompsoncoe.com              21 Q. And have you ever been deposed before?
22                                                                  22 A. Yes.
23             WHEREUPON, the following proceedings were            23 Q. Many times?
24   duly had and entered of record, to wit:                        24 A. Yes.
25                                                                  25 Q. So although you probably know a lot of this,


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Mark Lanterman, et al vs.                                                                                Mark Lanterman
Scott Stillman, et al                                                                                        May 2, 2017
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 1   I'll just go over some of the ground rules for              1  in preparation?
 2 today. Please give verbal, audible answers,                   2  A. No.
 3 and try to avoid nodding, nonverbal cues to                    3 Q. Okay. And did you bring any documents with
 4 your answers so that everything can show up in                 4 you today to the deposition?
 5 the record. If we could speak one at a time,                   5 A. No.
 6 I will do my very best to not interrupt your                   6 Q. Other than your attorneys, did you talk to
 7 answers, and I would expect the same, to not                   7 anyone else about today's deposition?
 8 interrupt my questions so we can make the                      8 A. I told my wife that I was coming to a
 9 court reporter's job a little easier today.                    9 deposition today, but I have not discussed the
10 Let's try not to talk, both ofus, at the same                10 deposition with anyone.
11 time. If you don't understand one of my                      11 Q. Great. Thank you. Just to get going into
12 questions, will you agree to let me know or                  12 some of your background information about you,
13 ask me to rephrase it?                                       13 not necessarily related specifically to the
14 A. Yes.                                                      14 allegations in this case. What is your date
15 Q. And if you don't tell me that you don't                   15 of birth?
16 understand, I will assume that you understood                16 A. January 1st, 1965.
17 the question; is that fair?                                  1 7 Q. And your current address?
18 A. Yes.                                                      18 A. 6936 Oakridge Road in Hamel, H-A-M-E-L,
19 Q. Great. And ifat any time you want                         19 Minnesota 55340.
20 clarification or want to clarify an answer or                20 Q. And how long have you lived there, to the best
21 add to or change an answer, you'll tell me?                  21 of your recollection?
22 A. Yes.                                                      22 A. Yeah, it's almost four years.
23 Q. Great. Are you under any medications today                23 Q. And who lives with you at that address?
24 that would impair your ability to answer                     24 A. My wife and my children.
25 truthfully or understand the questions?                      25 Q. And how many children do you have?


                                                       Page6                                                         Page8

 1 A. No.                                             1 A. I have nine children.
 2 Q. And is there any other reason why today you     2 Q. Full house?
 3 would be unable to answer truthfully or to         3 A. Very full house. I would have it no other
 4 understand questions?                              4 way.
 5 A. No.                                             5 Q. Absolutely. Ifwe could talk just briefly
 6 Q. Great. As for breaks today, if you ever need    6 about your educational background starting
 7 a break, just let me know. I will ask that         7 vrith your high school, any college or higher
 8 you fin ish answering the question asked before    8 education that you have?
 9 the break. And [ will also just note that in       9 A. Sure. I attended high school in Philadelphia.
10 about an hour l will need to take a morning       10 I went to the University of Minnesota for
11 break for a prescheduled call, which I            11 about a year and a half, but I could not
12 apologize for, but which should only take 15      12 afford the out-of-state -- I think they call
13 to 20 minutes. So there could be a good           13 it tuition, so I moved back, back to the East
14 morning break there too.                          14 Coast, and I finished my college education in
15    All right. Moving to today's                   15 northern -- scenic orthem New Jersey.
16 deposition. Without telling me any,               16 Q. And have you completed any education after
17 obviously, details of your conversations with     17 college, formal education for a degree?
18 your attorney, what have you done to prepare      18 A. Certifications, but not any additional
19 for today's deposition.                           19 degrees.
20 A. I met with Ms. Merrick yesterday for maybe     20 Q. And what certifications do you have?
21 half an hour.                                     21 A. I'm certified by the Department of Homeland
22 Q. Have you reviewed any documents in preparation 22 Security as a seized computer evidence
23 for today's deposition?                           23 recovery specialist, and the acronym is SCERS,
24 A. No.                                            24 S-C-E-R-S. I also received a certification
25 Q. Did you review the complaint in this lawsuit   25 from the National White Collar Crime Center.



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